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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8      UNITED STATES OF AMERICA,                              NO. CR17-300 RSL

 9                                      Plaintiff,

10               v.                                            DETENTION ORDER
11
        ROMAN MYKHAYLENKO
12
                                        Defendant.
13

14   Offenses charged:
15
            Count 5:         Distribution of Heroin
16
            Count 6:         Distribution of Heroin
17
            Count 7:         Distribution of Heroin
18
     Date of Detention Hearing: December 26, 2017.
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.        Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
23
     defendant is a flight risk and a danger to the community based on the nature of the pending
24
     charges.
25

26


      DETENTION ORDER
      18 U.S.C. § 3142(i)
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            2.      Defendant has stipulated to detention, but reserves the right to contest her
 2
     continued detention if there is a change in circumstances.
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            3.      There are no conditions or combination of conditions other than detention that
 4
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 5
     community.
 6
            IT IS THEREFORE ORDERED:
 7
            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
 9
                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
12
                    counsel;
13
            (3)     On order of a court of the United States or on request of an attorney for the
14
                    government, the person in charge of the corrections facility in which defendant
15
                    is confined shall deliver the defendant to a United States Marshal for the
16
                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
20
            DATED this 26th day of December, 2017.
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22                                                AJAMES P. DONOHUE
23                                                 Chief United States Magistrate Judge
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      DETENTION ORDER
      18 U.S.C. § 3142(i)
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